     Case: 3:18-cv-00081-WHR Doc #: 1 Filed: 03/12/18 Page: 1 of 8 PAGEID #: 1



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

JOHN ANTHONY CASTRO,                                )
                                                    )
                                                    )
                     Plaintiff,                     )
                                                    )
v.                                                  )                     Case No. _______________
                                                    )
THEODORE “TED” GUDORF AND                           )
GUDORF LAW GROUP, LLC                               )
                                                    )
                   Defendants.                      )

                            PLAINTIFFS’ ORIGINAL COMPLAINT

        Plaintiff John Anthony Castro (hereinafter “John Castro” or “Castro”), files this lawsuit

against Theodore “Ted” Gudorf and Gudorf Law Group, LLC (hereinafter “Ted Gudorf,”

“Gudorf,” “Gudorf Law,” Or individually as “Defendant” or collectively as “Defendants”) on

behalf of himself and alleges, by and through his attorney of record, as follows:

                                  JURISDICTION AND VENUE

        1.      This Court has subject-matter jurisdiction over this action under 28 U.S.C. §1332.

        2.      This is a suit arises under Texas State Law and is a claim for Defamation and a

claim for Right of Publicity. These claims arise under Tex. Civ. Prac. & Rem. Code §73 and the

common law, respectively.

        3.      Venue is proper in this Court under 28 U.S.C. §1332(a) because this is a civil action,

and all or a substantial portion of the persons or property the subject of this suit is located in Texas.

        4.      Specifically, the sum sought to be recovered is $3,600,000.00 in actual and

compensatory damages. As divided among the counts of this complaint.




PLAINTIFFS’ ORIGINAL COMPLAINT
PAGE 1 OF 8
     Case: 3:18-cv-00081-WHR Doc #: 1 Filed: 03/12/18 Page: 2 of 8 PAGEID #: 2



                                            PARTIES

       5.      John Anthony Castro, is an individual, whose office address is 1701 Pennsylvania

Ave. NW, Suite 300, Washington, DC 20006.

       6.      Defendant Theodore “Ted” Gudorf is an attorney who runs his own legal practice

out of Ohio. Gudorf may be served at his office located at 8153 North Main St., Dayton, OH 45415.

       7.      Defendant Gudorf Law Group, LLC is the legal practice owned and operated by

Defendant Gudorf. Gudorf Law Group, LLC may also be served at its principal office located at

8153 North Main St., Dayton, OH 45415.

                                     FACTUAL ALLEGATIONS

       8.      John Anthony Castro is the founder and managing partner of a U.S. based

International Tax law firm known as Castro & Co., LLC (hereinafter “Castro & Co.”) that

specializes in International Tax matters. Services provided by Castro & Co. to clients include: U.S.

based Federal annual tax compliance, issuing tax opinions on complex International and Tax

Treaty compliance issues, tax return amendments, tax planning and consulting, among other tax

matters.

       9.      On or about May 2013, Defendant hired Castro to assist him in integrating a tax

practice Defendant had purchased from a CPA into his existing Estate Planning Practice. Castro

was a recent graduate of Georgetown Law School with a Master of Laws in International Taxation.

Castro accepted the job and moved himself and his family to Dayton, Ohio to work for Defendant.

       10.     It quickly became clear that the job was not as Defendant had originally described

to Castro. In addition to having Castro work to integrate the tax practice into Defendant’s existing

Estate Planning practice, Defendant expected and required Castro to grow the tax practice and

bring in new tax clients. This included Defendant’s expectation that Castro would handle



PLAINTIFFS’ ORIGINAL COMPLAINT
PAGE 2 OF 8
     Case: 3:18-cv-00081-WHR Doc #: 1 Filed: 03/12/18 Page: 3 of 8 PAGEID #: 3



marketing efforts to promote the tax practice, but Defendant failed to provide guidance or even

financial support for any marketing efforts.

       11.     After 6 months of working for Defendant, Castro continued to be required by

Defendant to handle matters outside of the initial anticipated and agreed scope of employment.

Additionally, Defendant was advertising on his website that Castro was a new “associate” with the

firm leading the public to believe that Castro was licensed by the State Bar of Ohio. However,

Castro was not licensed with the Ohio State Bar, a fact that Defendant was well aware of even

before hiring Castro.

       12.     Castro determined it was time for him to look for more suitable employment and

began to look for other opportunities in the field of International Taxation. Eventually, Castro was

able to find work with the firm of CliftonLarsonAllen, LLP (hereinafter “CLA”) in their Orlando

office. Castro accepted a job with CLA and notified Defendant he would be moving to Florida in

short order for the new position.

       13.     Despite leaving the employment of Defendant in December 2013 and

unquestionably cutting ties with Defendants (Gudorf and Gudorf Law), it later came to Castro’s

attention that his name was still listed on Defendants’ website and Defendant was personally

telling clients and potential clients that Castro was still with the firm and was temporarily on

vacation. The use of Castro’s name and credentials was completely without the consent,

permission, or knowledge (until later) of Castro.

       14.     In October 2017, Castro’s firm, Castro & Co., LLC was the premiere sponsor of a

well-known estate planning conference WealthCounsel’s Annual Symposium. Defendant is a

long-time member of the WealthCounsel organization, which is a membership organization

attorneys may choose to pay a monthly fee to become members and enjoy the benefits of



PLAINTIFFS’ ORIGINAL COMPLAINT
PAGE 3 OF 8
     Case: 3:18-cv-00081-WHR Doc #: 1 Filed: 03/12/18 Page: 4 of 8 PAGEID #: 4



membership. At the Symposium Defendant recognized Castro and realized that Castro was the

premiere sponsor of the conference.

       15.     After making this realization, Defendant began to slander Castro to the

WealthCounsel organization and other attorneys at the conference. Defendant made unfounded

claims that Castro was engaged in unethical and illegal activity. Defendant’s claims were

disseminated to potential clients and important marketing contacts.

       16.     Defendant was well aware that Castro & Co. was attending the conference for the

purpose of promoting its business and generating additional business contacts. Defendant knew,

or should have known, that his claims were false and in fact Castro was not involved in any

unethical or illegal activity. However, Defendant’s comments were disseminated with this

knowledge and with the intent to substantially harm Castro’s reputation and cause Castro to lose

business opportunities among WealthCounsel members.

                                              COUNT I
                                  (Defamation as to Both Defendants)

       17.     The elements of a cause of action for defamation are (1) the defendant published a

statement of fact; (2) the statement referred to the plaintiff; (3) the statement was defamatory; 4)

the statement was false; (5) with regard to the truth of the statement, the defendant was acting with

actual malice; and (6) the plaintiff suffered pecuniary injury. In re Lipsky, 460 S.W.3d 579, 593

(Tex. 2015).34. For a statement to be actionable in defamation, it must expressly or impliedly

assert facts that are objectively verifiable. See Benltey v. Bunton, 94 S.W.3d 561, 579-81 (Tex.

2002); see also Milkovich v. Lorain Journal Co., 497 U.S. 1, 19 (1990). Defendant disseminated a

statement of fact when he initiated conversations among a number of WealthCounsel employees

and members with whom, he knew or should have known, Castro had, maintained, or sought

business relationships. In an attempt to destroy Castro’s personal and business reputation,

PLAINTIFFS’ ORIGINAL COMPLAINT
PAGE 4 OF 8
     Case: 3:18-cv-00081-WHR Doc #: 1 Filed: 03/12/18 Page: 5 of 8 PAGEID #: 5



Defendant intimated that Castro was a fraud, Castro had no legal ability to provide legal services

through his firm, and that Castro was engaged in unethical and illegal activity.

       18.      To prove an action for defamation, the plaintiff must establish the statement

published by the defendant was defamatory. A statement is considered libel per se if it was so

obviously hurtful to the plaintiff that no proof of the statement’s injurious character is required to

make it actionable. Meisel v. U.S. Bank, 396 S.W.3d 675, 678 (Tex.App. – Dallas 2013, no pet.).

A statement that injures a person in her office, profession, or occupation is considered libel per se.

Hancock v. Variyam, 400 S.W.3d 59, 63-64 (Tex.2013). Defendant’s statements that Castro was a

fraud, Castro had no legal ability to provide legal services through his firm, and that Castro was

engaged in unethical and illegal activity are unquestionably hurtful to Castro, his business, and his

reputation. The fact that Defendant disseminated the statement to WealthCounsel employees and

members clearly injured Castro in his profession.

       19.      Defendant’s statements that Castro was a fraud, Castro had no legal ability to be

providing the services provided through his firm, and that Castro was engaged in unethical and

illegal activity are undeniably false. Castro can and will show that none of Defendant’s defamatory

statements can be substantiated. Defendant knew or should have known this information this when

he spread his message at the conference but Defendant insisted on disseminating his message

anyway intending to destroy Castro’s business opportunities within the WealthCounsel

organization.

       20.      Defendant Gudorf was simultaneously acting in his capacity as principal of

Defendant Gudorf Law and thus Gudorf Law is implicated in this cause of action as well.

                                          COUNT II
             (Common Law Right of Publicity/Misappropriation as to Both Defendants)

       21.      The elements of a cause of action for Right of Publicity or Misappropriation are (1)

PLAINTIFFS’ ORIGINAL COMPLAINT
PAGE 5 OF 8
     Case: 3:18-cv-00081-WHR Doc #: 1 Filed: 03/12/18 Page: 6 of 8 PAGEID #: 6



the defendant appropriated the plaintiff’s name or likeness for its value rather than incidentally or

for a newsworthy purpose; (2) the plaintiff can be identified from the publication; (3) the defendant

received an advantage or benefit as a result of such appropriation. Matthews v. Wozencraft, 15

F.3d 432 (5th Cir. 1994); Henley v. Dillard Dep’t Stores, 46 F.Supp.2d 587 (N.D. Tex. 1999). If

these three prongs are met there has been an unauthorized use of an individual’s name or likeness.

It is sufficient to satisfy the third prong of this test if the defendant's use of the individual's name

likely led to some benefit, commonly commercial, that the defendant would otherwise not have

received. The plaintiff generally does not need to prove that the defendant actually made a profit

from the use, though the benefit cannot be purely incidental. See Henley. Defendants failed to

remove Castro’s information from their website after Castro separated from Gudorf Law Group,

LLC. Defendants continued to use Castro’s name and credentials on the website in a capacity other

than incidentally or for newsworthy purposes. Castro could clearly be identified from the website

content. Defendant was using such information to advantage or benefit himself and his firm as

evidenced by his failure to update the website and his continued representation to clients and

potential clients that Castro still worked for the firm.

        22.       Defendant Gudorf in operating his website was simultaneously acting in his

capacity as principal of Defendant Gudorf Law and thus Gudorf Law is implicated in this cause of

action as well.

                                                 DAMAGES

        23.       As a direct and/or proximate result of Defendants’ wrongful conduct, Castro has

suffered actual, consequential and/or incidental monetary damages.

        24.       Plaintiff, John Anthony Castro, seeks an award of attorney’s fees, litigation costs,

administrative costs, expenses, and any other permissible amount to the furthest extent legally



PLAINTIFFS’ ORIGINAL COMPLAINT
PAGE 6 OF 8
     Case: 3:18-cv-00081-WHR Doc #: 1 Filed: 03/12/18 Page: 7 of 8 PAGEID #: 7



permissible under Texas Law.

        25.    Plaintiff, John Anthony Castro, seeks actual compensatory damages in the amount

of $1,200,000.00 for the damage to Castro’s reputation and business prospects among

WealthCounsel members.

        26.    Plaintiff, John Anthony Castro, also seeks an award of $1,200,000.00 in damages

for Defendants’ misappropriation of Castro’s name and credentials, along with $1,200,000.00 in

profits attributed to the use of Castro’s name and credentials.

        27.    Plaintiff, John Anthony Castro, seeks judgement for such sums in addition to pre-

and post- judgment interest, costs of court, and such other and any other relief to which he may be

entitled.

                                            JURY DEMAND

        28.    Plaintiff hereby demands a trial by jury.

                                                PRAYER

        WHEREFORE, Plaintiff herein respectfully prays that Theodore “Ted” Gudorf and Gudorf

Law Group, LLC be cited to appear and answer, and that upon jury trial, he recover a judgment

against Theodore “Ted” Gudorf and Gudorf Law Group for all damages sought, including costs of

court, prejudgment interest at the highest rate allowed by law, interest on the judgement at the

highest legal rate from the date of judgment until collected, and any other relief, in law and in

equity, to which he may be entitled.




PLAINTIFFS’ ORIGINAL COMPLAINT
PAGE 7 OF 8
    Case: 3:18-cv-00081-WHR Doc #: 1 Filed: 03/12/18 Page: 8 of 8 PAGEID #: 8



                                     Respectfully submitted,




Dated: March 12, 2018                ______________________________
                                     JOSHUA S. MILAM
                                     Texas Bar No. 24102203
                                     CASTRO & CO., LLC
                                     J.Milam@CastroAndCo.com
                                     13155 Noel Road, Suite 900
                                     Dallas, TX 75240
                                     Tel. (214) 998-9607
                                     Fax: (866) 700-7595

                                     ATTORNEY FOR PLAINTIFF




PLAINTIFFS’ ORIGINAL COMPLAINT
PAGE 8 OF 8
